       Case 2:05-cr-00203-RSM           Document 22        Filed 08/04/05      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE


UNITED STATES OF AMERICA, )
                               )
            Plaintiff,         )              CASE NO.        CR-05-203 RSM
                               )
      v.                       )
                               )
ROBERT EARL HAMPTION           )              DETENTION ORDER
                               )
            Defendant.         )
_____________________________ )

Offense charged: Bank Fraud, in violation of Title 18, U. S. C. 1344 and 2.

Date of Detention Hearing: August 3, 2005.

       The court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

based upon the factual findings and statement of reasons for detention hereafter set forth, finds

that no condition or combination of conditions, which defendant can meet, will reasonably assure

the appearance of defendant as required and the safety of any other person and the community.
       Case 2:05-cr-00203-RSM           Document 22        Filed 08/04/05      Page 2 of 3




        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION



           (1) The defendant resides in Seattle, Washington and has for the past 25 years. He is

               unemployed at this time but has held employment in various capacities fore the

               past 10-15 years. He is currently on supervision to the King County Superior

               Court, the Hon. Catherine Shaffer for a reduced felony/misdemeanor domestic

               violence assault.

           (3) Outweighing these factors is a history of criminal convictions, both misdemeanor

               and felony which exceed 89 in number. Replete with this history are series of

               failures to appear, most recently his last conviction for domestic assault. His use

               of 17 aliases, 6 dates of birth and 4 social security numbers also factor in the

               court’s decision to detain..

           (2) Accordingly, due to the nature and seriousness of the crime alleged, release of the

               defendant would pose a risk to the community.

Thus, there is no condition or combination of conditions that would reasonably assure future

court appearances.

It is therefore ORDERED:

           (l) Defendant shall be detained pending trial and committed to the custody of the

               Attorney General for confinement in a correctional facility separate, to the extent

               practicable, from persons awaiting or serving sentences, or being held in custody

               pending appeal;

           (2) Defendant shall be afforded reasonable opportunity for private consultation with

               counsel;
Case 2:05-cr-00203-RSM         Document 22        Filed 08/04/05      Page 3 of 3




  (3) On order of a court of the United States or on request of an attorney for the

      Government, the person in charge of the correctional facility in which defendant is

      confined shall deliver the defendant to a United States Marshal for the purpose of

      an appearance in connection with a court proceeding; and

  (4) The clerk shall direct copies of this order to counsel for the United States, to

      counsel for the defendant, to the United States Marshal, and to the United States

      Pretrial Services Officer.

  DATED this 4th day of August, 2005.



                                                A
                                                Monica J. Benton
                                                United States Magistrate Judge
